Case 19-00110-5-SWH        Doc 4 Filed 07/19/19 Entered 07/19/19 11:46:40          Page 1 of 2




                      UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                            WILMINGTON DIVISION

 In Re:                                                   CASE NO.19-01659-5-SWH
 TERESA D. HINES,
 DEBTOR                                                   Chapter 13

                                           )
 TERESA D. HINES,                          )
 PLAINTIFF,                                )
                                           )              ADVERSARY PROCEEDING
 v.                                        )              NUMBER: 19-00110-5-SWH
                                           )
 SOUTHERN LOANS, INC.                      )
 DEFENDANT.                                )
                                           )

                   NOTICE OF APPEARANCE AND REQUEST FOR
                     SERVICE OF NOTICES AND PLEADINGS

        Southern Loans, Inc., the Defendant, in the above referenced case, hereby gives
 notice of its appearance in this case, pursuant to Rule 9010 of the Federal Rules of
 Bankruptcy Procedure, by and through the undersigned counsel:

                                       William F. Hill
                                      Attorney At Law
                                   Post Office Box 2517
                              Greenville, North Carolina 27836

        Southern Loans, Inc., requests that it be served with copies of all notices issued by
 the Clerk of the Court and all other pleadings and notices to parties in interest filed by
 Debtor(s), the Bankruptcy Administrator or any other interested parties in this case,
 including all adversary proceedings, in accordance with Rule 2002 of the Federal Rules of
 Bankruptcy Procedure.

        Further, Southern Loans, Inc., requests that Debtor(s) forward to it, through its
 attorney of record, copies of all applications, motions, complaints and other pleadings filed
 by Debtor(s) in the above-referenced case.

        Respectfully Submitted, this the 19th day of July, 2019.

                                           s/ William F. Hill________________________
                                           William F. Hill
                                           State Bar No. 10929
                                           Attorney for Southern Loans, Inc.
                                           Post Office Box 2517
                                           Greenville, North Carolina, 27836
                                           Telephone: (252) 355-4277
                                           Facsimile: (252) 355-2797
Case 19-00110-5-SWH        Doc 4 Filed 07/19/19 Entered 07/19/19 11:46:40            Page 2 of 2




                                 CERTIFICATE OF SERVICE

        The undersigned, of P.O. Box 2517, Greenville, North Carolina 27836, certifies:

        That I am, and at all times hereinafter mentioned was, more than eighteen (18)
 years of age;

         That on today’s date, I electronically filed the foregoing NOTICE OF APPEARANCE
 with the Clerk of the Court using the CM/ECF system which will send notification of such
 filing to the parties listed below. I further certify that I have mailed the document to the
 non CM/ECF participants as set out below by first class mail.

        I certify under penalty of perjury that the foregoing is true and correct.

        This the 19th day of July, 2019.

                                            /s/William F. Hill____________________________
                                            William F. Hill
                                            State Bar No. 10929
                                            Attorney for Southern Loans, Inc.
                                            P.O. Box 2517
                                            Greenville, North Carolina 27836
                                            Telephone: 252-355-4277
                                            Facsimile: 252-355-2797
 Recipients:

 Christopher T. Vonderau                            Teresa D. Hines
 Attorney for Debtor(s)                             67 Lake Forest Parkway
 4022 Shipyard Blvd.                                Wilmington, NC 28401
 Wilmington, NC 28409                               VIA FIRST CLASS MAIL
 VIA CM/ECF ELECTRONIC MAILING
